 1   ARASTO FARSAD (SBN: 273118)
 2   NANCY WENG (SBN: 251215)
     FARSAD LAW OFFICE, P.C.
 3   2905 Stender Way, Suite 76
     Santa Clara, CA 95054
 4   Tel: 408-641-9966
     Fax: 408-866-7334
 5   Emails addresses: farsadlaw1@gmail.com;
 6   nancy@farsadlaw.com

 7   Attorneys for Debtor

 8                            UNITED STATES BANKRUPTCY COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN JOSE DIVISION

11

12   In re:                                         Case No.: 23-50023 MEH
                                                    Chapter 13
13
                                                    WITHDRAWAL OF NOTICE OF
14   Y. ROGER YU,
                                                    HEARING ON MOTION TO CONVERT
15                                                  CASE TO CHAPTER 11

16                  Debtor.                         Date: April 6, 2023
                                                    Time: 1:30 p.m.
17                                                  Place: U.S. Courthouse, 280 South 1st Street,
                                                    Courtroom 11, San Jose CA 95113**
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                                                    **Hearing to be conducted in person in the
19                                                  courtroom but Counsel / interested parties
                                                    may appear by Zoom
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                                                    Judge: Hon. M. Elaine Hammond
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24            TO THE HONORABLE JUDGE M. ELAINE HAMMOND, THE STANDING
25   CHAPTER 13 TRUSTEE, ALL PARTIES IN INTEREST, AND THEIR RESPECTIVE
26   COUNSEL(S) OF RECORD:
27            PLEASE TAKE NOTICE THAT the Debtor, Y. Roger Yu, and the Farsad Law Office,
28   P.C., hereby withdraw the NOTICE OF HEARING ON THE COURT’S CONTESTED

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     WITHDRAWAL OF NOTICE OF HEARING                                         Case No. 23-50023 MEH
 1   CALENDAR REGARDING THE OPPOSITION TO DEBTOR’S MOTION TO CONVERT

 2   CASE UNDER 11 U.S.C. SECTION 706(a) OR 1112(a) (Dkt. No. 52.).

 3          The parties in the instant case have been conferring and a settlement has been reached

 4   (and a Motion to Approve the Settlement is forthcoming) thereby making the hearing scheduled

 5   for April 6, 2023, moot. The Parties would like to thank the Court for their assistance.

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     DATED: April 4, 2023                Respectfully submitted,
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 8                                       By: /s/ Nancy Weng
                                             NANCY WENG, ESQ.
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                                             Attorneys for Debtor
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     WITHDRAWAL OF NOTICE OF HEARING                                               Case No. 23-50023 MEH
                                 CERTIFICATE OF SERVICE
 1                               **No Mail Service Required**
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     WITHDRAWAL OF NOTICE OF HEARING                                      Case No. 23-50023 MEH
